Case 1:19-cv-01868-RJL Document 36 Filed 03/17/21 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,
Plaintiff,

)
)
)
)
v. ) Civil Case No. 19-1868 (RJL)
)
OMAROSA MANIGAULT NEWMAN, )

)

)

Defendant.

ORDER

aA—

(March (G", 2021) [Dkt. ## 17, 18]

For the reasons set forth in the accompanying Memorandum Opinion, it is hereby

ORDERED that the Government’s Motion for a Protective Order [Dkt. # 17] is
GRANTED IN PART and DENIED IN PART, and the Government’s Motion to Compel
[Dkt. # 18] is GRANTED. Plaintiff’s motion for a protective order is GRANTED as

follows: It is hereby

ORDERED that defendant is not permitted to take the depositions of former
President Donald Trump, former Chief of Staff General John Kelly, Uttam Dhillon, and

James Gilligan; it is further

ORDERED that defendant is not permitted to conduct discovery into the process

by which this matter was referred to or authorized by the Department of Justice; it is further
Case 1:19-cv-01868-RJL Document 36 Filed 03/17/21 Page 2 of 2

ORDERED that plaintiff is not required to respond to defendant’s First Request for

Admissions to Plaintiff Nos. 21-23 and 25-27; it is further

ORDERED that plaintiff is not required to respond to defendant’s First Request for

Production of Documents Nos. 7-9 and 13.

Plaintiff's motion for a protective order is DENIED to the extent it seeks an order
prohibiting the deposition of Ashley Cheung or prohibiting discovery into defendant’s
termination date or location of her personal effects. Further, plaintiffs request for an order
protecting the Government from responding to defendant’s Request for Production of

Documents Nos. 3, 4, 5, and 11 and defendant’s Request for Admission 28 is DENIED.

It is further ORDERED that the parties are to submit a joint protective order
covering any documents that will be produced in this litigation that are subject to the
confidentiality agreement between defendant and Donald Trump for President, Inc. within

two weeks of this order; it is further

ORDERED that within two weeks of the Court entering the parties’ protective
order, defendant shall produce all remaining non-privileged documents responsive to the

Government’s First Request for Production of Documents.

SO ORDERED. \
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Menaul

RICHARD J. LEON
United States District Judge
